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Supplemental Civil Cover Sheet
Page 1 of 

                       Supplemental Civil Cover Sheet for Cases Removed
                                      From State Court


This form must be attached to the Civil Cover Sheet at the time the case is filed in the U.S. District
                  Clerk’s Office. Additional sheets may be used as necessary.


    1. State Court Information:

        Please identify the court from which the case is being removed and specify the number assigned
        to the case in that court.

                                 Court                                           Case Number
         14th Judicial District, Dallas County, Texas       DC-17-06621


    2. Style of the Case:

        Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s), Crossclaimant(s)
        and Third Party Claimant(s) still remaining in the case and indicate their party type. Also, please
        list the attorney(s) of record for each party named and include their bar number, firm name,
        correct mailing address, and phone number (including area code).

                       Party and Party Type                                      Attorney(s)
         Plaintiff - Sammi Owens                            See Attached Sheet
         Defendant - Centauri Specialty Insurance Company   See Attached Sheet




    3. Jury Demand:

        Was a Jury Demand made in State Court?              ✔   Yes                     No
                 If “Yes,” by which party and on what date?

                 ___________________________________
                 Plaintiff - Sammi Owens                               ______________________
                                                                       6/5/17
                 Party                                                 Date
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Supplemental Civil Cover Sheet
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    4. Answer:

        Was an Answer made in State Court?           Yes                  ✔   No
                 If “Yes,” by which party and on what date?

                 ___________________________________                  ______________________
                 Party                                                Date


    5. Unserved Parties:

        The following parties have not been served at the time this case was removed:

                                 Party                              Reason(s) for No Service
         None




    6. Nonsuited, Dismissed or Terminated Parties:

        Please indicate any changes from the style on the State Court papers and the reason for that
        change:

                                 Party                                        Reason




    7. Claims of the Parties:

        The filing party submits the following summary of the remaining claims of each party in this
        litigation:

                                 Party                                        Claim(s)
         Plaintiffs                                   Breach of contract
                                                      Negligence
                                                      Texas Insurance Code Chapter 541 &542 violations
                                                      Breach of common-law duty of good faith & fair dealing
                                                      DTPA violations
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